           Case 2:20-cv-10485-ODW-RAO Document 19 Filed 12/17/20 Page 1 of 5 Page ID #:93
                                                                                                                                                         POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                     FOR COURT USE ONLY
     CENTER FOR DISABILITY ACCESS
     Raymond G. Ballister, Jr. SBN 111282
     8033 Linda Vista Road Suite 200 , San Diego CA 92111

             TELEPHONE NO.:     (858) 375-7385    FAX NO. (Optional): (888) 422-5191

 E–MAIL ADDRESS (Optional):     general@potterhandy.com
      ATTORNEY FOR (Name):      Plaintiff
 CENTRAL      DISTRICT OF CALIFORNIA
   STREET ADDRESS:

       MAILING ADDRESS:

      CITY AND ZIP CODE:

            BRANCH NAME:


      PLAINTIFF/PETITIONER:            Scherer                                                               CASE NUMBER:

                                                                                                                      2:20-cv-10485-ODW-RAO
DEFENDANT/RESPONDENT:                  C.C. Associates at al
                                                                                                            Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS

                                              (Separate proof of service is required for each party served.)
1.    At the time of service I was at least 18 years of age and not a party to this action.
2.    I served copies of:
       a.            summons
      b.             complaint
      c.             Alternative Dispute Resolution (ADR) package
      d.             Civil Case Cover Sheet (served in complex cases only)
      e.             cross-complaint
      f.      X      other (specify documents):       SEE ATTACHED LIST OF DOCUMENTS SERVED
3.    a. Party served (specify name of party as shown on documents served):
            C.C. Associates - a Limited Partnership, a California Limited Partnership;
      b.          Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                  under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                  Agent for Service of Process: Herbert D Reston
4.    Address where the party was served:
      3435 Caribeth Dr, Encino, CA 91436
5.    I served the party (check proper box)
      a.         by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date):                      (2) at (time):
      b.             by substituted service.  On (date): 11/25/2020         at (time): 3:08 pm I left the documents listed in item 2 with or
                     in the presence of (name and title or relationship to person indicated in item 3):
                     Maria D. Santos (nurse)
                    (1)              (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                     of the person to be served. I informed him or her of the general nature of the papers.

                    (2)              (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                     place of abode of the party. I informed him or her of the general nature of the papers.
                    (3)              (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                     address of the person to be served, other than a United States Postal Service post office box. I informed
                                     him or her of the general nature of the papers.
                    (4)              I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                     at the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                     (date): 11/30/2020 from (city): San Diego                    or        a declaration of mailing is attached.
                    (5)              I attach a declaration of diligence     stating actions taken first to attempt personal service.
                                                                                                                                                            Page 1 of 2

 Form Adopted for Mandatory Use                                                                                                        Code of Civil Procedure, § 417.10
   Judicial Council of California
                                                        PROOF OF SERVICE OF SUMMONS
 POS-010 [Rev. January 1, 2007]
        Case 2:20-cv-10485-ODW-RAO Document 19 Filed 12/17/20 Page 2 of 5 Page ID #:94
      PLAINTIFF/PETITIONER:          Scherer                                                        CASE NUMBER:


                                     C.C. Associates at al                                                    2:20-cv-10485-ODW-RAO
DEFENDANT/RESPONDENT:



5.   c.             by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                    address shown in item 4, by first-class mail, postage prepaid,

                    (1) on (date):                                             (2) from (city):
                     (3)         with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                 to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                    (4)           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

     d.             by other means (specify means of service and authorizing code section):




                    Additional page describing service is attached.

6.   The "Notice to the Person Served" (on the summons) was completed as follows:
      a.        as an individual defendant. (415.10)
      b.        as the person sued under the fictitious name of (specify):
     c.         as occupant.
      d.        On behalf of (specify):        C.C. Associates - a Limited Partnership, a California Limited Partnership;
                     under the following Code of Civil Procedure section:
                                    416.10 (corporation)                           415.95 (business organization, form unknown)
                                    416.20 (defunct corporation)                   416.60 (minor)
                                    416.30 (joint stock company/association)       416.70 (ward or conservatee)
                                    416.40 (association or partnership)            416.90 (authorized person)
                                    416.50 (public entity)                         415.46 (occupant)
                                                                                   other:
7.   Person who served papers
     a. Name: Jose Diaz
     b. Address: 30 N 1st St #8, Alhambra, CA 91801
     c. Telephone number: (626) 375-5246
     d. The fee for service was: $ 35
     e. I am:
           (1)             not a registered California process server.
           (2)             exempt from registration under Business and Professions Code section 22350(b).
           (3)             a registered California process server:
                           (i)         owner          employee         independent contractor.
                           (ii) Registration No.:
                           (iii) County:

8.             I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

               or
9.             I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date:

     --
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                             (SIGNATURE )




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                                                     PROOF OF SERVICE OF SUMMONS
      Case 2:20-cv-10485-ODW-RAO Document 19 Filed 12/17/20 Page 3 of 5 Page ID #:95
  Attorney or Party without Attorney (Name and Address):

  CENTER FOR DISABILITY ACCESS
                                                                  Telephone No.:   (858) 375-7385
  Raymond G. Ballister, Jr. SBN 111282
  8033 Linda Vista Road Suite 200 , San                             Fax No.:   (888) 422-5191
  Diego CA 92111
  Attorney for          Plaintiff
  Insert name of Court, and Judicial District and Branch Court:
  CENTRAL DISTRICT OF CALIFORNIA
  SHORT TITLE CASE:




  PLAINTIFF:           Scherer

  DEFENDANT:            C.C. Associates at al
                                                                                                Case No.:
               AFFIDAVIT OF REASONABLE DILIGENCE                                                             2:20-cv-10485-ODW-RAO
     Jose Diaz
 I, ____________________________,        declare I am a Registered Process Server and was retained by AUPDGD3ULPH. I was
 on the dates mentioned herein over the age of eighteen years and not a party to this action. I am authorized to serve legal process
 in the State of California. The following facts are within my personal knowledge and if sworn as a witness I can and will
 truthfully and competently testify thereto.

 I attempted to serve the following documents: SEE ATTCHED LIST OF DOCUMENTS SERVED
 Name of party served: C.C. Associates - a Limited Partnership, a California Limited Partnership;

11/23/20, 5:55 pm
3435 Caribeth Dr, Encino, CA 91436
Unsuccessful Service Attempt.




11/25/20, 3:08 pm
3435 Caribeth Dr, Encino, CA 91436
Unsuccessful Service Attempt. I was able to serve Maria D. Santos nurse. Age: 45; Ethnicity: Asian American; Gender:
Female; Weight: 155; Height; 5'7"; Hair: Black; Eyes: Brown;




                 Jose Diaz
   Process Server:                                                                                  [X]     Registered California
   Armada Prime                                                                                             Process Server
   8033 Linda Vista Rd, Ste. 200,                                                                           Registration Number:
   San Diego, CA 92111                                                                                      County
   (213) 761-5477                                                                                           Fee for service: 35

 I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


 Executed on: _____________________                                                     Signature: ______________________________________

                           Proof of Service complies with CRC 982(a)(23) as required by CCP 417.10
 ______________________________________________________________________________________________________
                                  AFFIDAVIT OF REASONABLE DILIGENCE
 Case 2:20-cv-10485-ODW-RAO Document 19 Filed 12/17/20 Page 4 of 5 Page ID #:96


Attorney or Party without Attorney (Name and Address):

CENTER FOR DISABILITY ACCESS
                                                                         Telephone No.:   (858) 375-7385
Raymond G. Ballister, Jr. SBN 111282
8033 Linda Vista Road Suite 200 , San                                      Fax No.:   (888) 422-5191
Diego CA 92111
Attorney for Plaintiff
Insert name of Court, and Judicial District and Branch Court:

CENTRAL DISTRICT OF CALIFORNIA
SHORT TITLE CASE:




PLAINTIFF:          Scherer
DEFENDANT:          C.C. Associates at al
                    PROOF OF SERVICE BY MAIL
                                                                                                 Case No.:
                                                                                                             2:20-cv-10485-ODW-RAO

  1. I am at least 18 years of age, not a party to this action, and I am a resident of or employed in the county
  where the mailing took place.

  2. I served copies of the following documents: SEE ATTCHED LIST OF DOCUMENTS SERVED

  3. By placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon fully
     prepaid, in the United States Mail at San Diego, California, addressed as follows:

                a. Date of Mailing: 11/30/2020
                b. Place of Mailing: San Diego, California
                c. Addressed as follows:
                                                                C.C. Associates - A Limited Partnership
                                                                Agent For Service Of Process: Herbert D. Reston
                                                                3435 Caribeth, Encino Ca 91436



  I am readily familiar with this business’s practice for collecting and processing correspondence for
  mailing. On the same day that correspondence is placed for collection and mailing, it is deposited in the
  ordinary course of business with the United States Postal Service in a sealed envelope with postage fully
  prepaid at San Diego, California in the ordinary course of business.



 Armada Prime
 8033 Linda Vista Rd, Ste. 200,
 San Diego, CA 92111
 (213) 761-5477
 Admin@ArmadaPrime.com


  I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
  correct.


                    11/30/2020
  Executed on: _____________________                                     Signature: ______________________________________



                                                                 PROOF OF SERVICE BY MAIL
        Case 2:20-cv-10485-ODW-RAO Document 19 Filed 12/17/20 Page 5 of 5 Page ID #:97
                         Scherer v. C.C. Associates et al
          Case Name: ________________________________________________

          Case Number: ______________________________________________
                           2:20-cv-10485-ODW-RAO


                                             DOCUMENTS SERVED

✔ SUMMONS & PROOF OF SERVICE                                  ECF REGISTRATION INFORMATION HANDOUT
✔ COMPLAINT & CIVIL COVER SHEET                               ORDER SETTING CASE MANAGEMENT CONFERENCE
   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
                                                              NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
   VERIFICATION
                                                              VOLUNTARY EFFICIENT LITIGATIONS STIPULATIONS
✔ CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF
   LOCATION                                                   STIPULATION - EARLY ORGANISATIONAL MEETING

✔ NOTICE TO PARTIES OF COURT – DIRECTED ADR PROGRAM           STIPULATION – DISCOVERY RESOLUTION
✔ CERTIFICATION AND NOTICE OF INTERESTED PARTIES              INFORMAL DISCOVERY CONFERENCE
✔ NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES                STIPULATION AND ORDER – MOTIONS IN LIMINE
   NOTICE TO COUNSEL
                                                          ✔   ADVISORY INFORMATION FOR BUILDING OWNERS AND TENANTS
   ATTENTION: NEW CVIL ACTIONS                                [PER CALIFORNIA CIVIL CODE 55.3(B)(1)(A)]
   DEMAND FOR JURY TRIAL                                      ADVISORY NOTICE TO DEFENDANT [PER CALIFORNIA CIVIL CODE
                                                          ✔   55.54(A)(1)]
✔ NOTICE TO PARTIES: COURT POLICY ON SETTLEMENT
   AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR)            NOTICE OF STAY & EARLY EVALUATION CONF OR JOINT INSPECTION (Disability Access
                                                          ✔   Litigation)
   ORDER RE STATUS (PRE TRIAL SCHEDULING) CONFERENCE
   NOTICE OF AVAILABILITY OF A MAJISTRATE JUDGE TO        ✔   DEFENDANT’S APPLICATION FOR STAY & EARLY EVALUATION CONFERENCE PER CIVIL
                                                              CODE 55.54 OR JOINT INSPECTION
   EXERCISE JURISDICTION AND APPEAL INSTRUCTIONS
                                                          ✔   OTHER
   NOTICE OF AVAILABILITY‐VOLUNTARY DISPUTE RESOLUTION
   STIPULATION TO ELECT REFFERAL OF ACTION TO VOLUNTARY       NOTICE TO PARTIES: ADA DISABILITY ACCESS
   DISPUTE RESOLUTION PROGRAM (VDRP)                          LITIGATION
   ORDER REQUIRING JOINT STATUS REPORT
   ORDER RE FILING REQUIREMENTS
   ORDER SETTING MANDATORY SCHEDULING CONFERENCE
   STANDING ORDER REGARDING CASE MANAGEMENT IN ALL
   CIVIL CASES
   SCHEDULING ORDER FOR CASES ASSERTING DENIAL OF RIGHT
   OF ACCESS UNDER AMERICANS WITH DISABILITIES ACT

✔ CIVIL MINUTES – GENERAL
   SETTLEMENT CONFERENCE PROCEDURES
   STANDING ORDER FOR ALL JUDGES OF THE NORTHERN
   DISTRICT OF CALFORNIA
   CONSENT TO PROCEED BEFORE A UNITED STATE MAJISTRATE
   JUDGE
